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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                      DECLARATION OF RUSSELL H.
                                                      FALCONER IN SUPPORT OF
This document relates to:                             FACEBOOK, INC.’S ADMINISTRATIVE
                                                      MOTION TO FILE UNDER SEAL
ALL ACTIONS                                           CERTAIN EXHIBITS IN SUPPORT OF
                                                      OPPOSITION OF FACEBOOK, GIBSON,
                                                      DUNN & CRUTCHER, AND ORIN
                                                      SNYDER TO PLAINTIFFS’ MOTION FOR
                                                      SANCTIONS




FALCONER DECLARATION ISO ADMINISTRATIVE MOTION TO FILE UNDER SEAL CERTAIN E XHIBITS ISO OPPOSITION
 OF FACEBOOK, GIBSON, DUNN & CRUTCHER LLP, AND ORIN SNYDER TO PLAINTIFFS’ MOTION FOR SANCTIONS
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       I, Russell H. Falconer, hereby declare as follows:

       1.      I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record

for Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing

of the State Bar of Texas. I submit this declaration in support of Facebook’s Administrative

Motion To File Under Seal Certain Exhibits In Support Of Opposition Of Facebook, Gibson,

Dunn & Crutcher LLP, And Orin Snyder To Plaintiffs’ Motion For Sanctions. I make this

declaration on my own knowledge, and I would testify to the matters stated herein under oath if

called upon to do so.

       2.      Exhibit 41 to the Declaration of Deborah Stein (“Stein Declaration”) contains

confidential information regarding the names, architecture, functions, and contents of certain

Facebook data systems that may interact with user data. I understand that public disclosure of

this information could disclose where certain Facebook user data is stored and could potentially

harm Facebook and its users by providing a roadmap to bad actors seeking access to Facebook’s

internal systems that interact with user data. I also understand that Facebook’s competitors could

use this information to learn more about Facebook proprietary data systems and technical

operations, which Facebook developed at its expense, to Facebook’s competitive disadvantage.

       3.      Exhibit 41 to the Stein Declaration contains a guide for Facebook engineers on

the DYI tool. This document contains technical details and instructions to Facebook engineers

regarding building and maintaining the DYI tool, such as how to add data to DYI, where data

should be stored in the DYI taxonomy, and the DYI data schema fields. I understand that the

DYI tool was developed by Facebook at significant expense and that the engineering guide

reveals confidential information regarding Facebook’s technical capabilities and internal

engineering practices that, if publicly disclosed, could be used by Facebook’s competitors to

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improve their own methods and processes or build competing products on the back of

Facebook’s work.

       4.       Exhibit 41 to the Stein Declaration also contains a table that details confidential

information describing specific data processing tasks, including confidential and sensitive

information on the length of time to run each task and the inputs and outputs of each task. I

understand that this specific granular-level information, if publicly disclosed, could be used by

Facebook’s competitors to learn more about Facebook’s data processing capabilities to

Facebook’s competitive disadvantage. I also understand that bad actors could use this sensitive

information to learn more about Facebook’s technical capabilities and the activity on Facebook’s

data systems.

       5.       Exhibit 41 contains the names of certain Facebook employees who are the most

knowledgeable about specific data systems that may interact with user data. I understand that

public disclosure of this information may encourage competitors to poach these critical

employees and could also encourage bad actors to target these individuals in efforts to breach

Facebook’s security and access these data systems that interact with user data.

       6.       Exhibit 41 also contains details of a data set that Facebook acquires and how

Facebook uses that data set to enhance its products. Ex. 41 at 3 of Ex. B. I understand that this

information is proprietary and, if publicly disclosed, could be used by Facebook’s competitors to

mimic Facebook’s use of this data and improve their own products, to Facebook’s competitive

disadvantage.

       7.       A true and correct redacted copy of Exhibit 7 to the Declaration of Deborah

Stein In Support of Opposition Of Facebook, Inc., Gibson, Dunn & Crutcher LLP, And Orin

Snyder To Plaintiffs’ Motion For Sanctions (“Stein Declaration”) is attached hereto.

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          8.    A true and correct unredacted copy of Exhibit 7 to the Stein Declaration is

attached hereto.

          9.    A true and correct redacted copy of Exhibit 8 to the Stein Declaration is attached

hereto.

          10.   A true and correct unredacted copy of Exhibit 8 to the Stein Declaration is

attached hereto.

          11.   A true and correct redacted copy of Exhibit 9 to the Stein Declaration is attached

hereto.

          12.   A true and correct unredacted copy of Exhibit 9 to the Stein Declaration is

attached hereto.

          13.   A true and correct redacted copy of Exhibit 20 to the Stein Declaration is

attached hereto.

          14.   A true and correct unredacted copy of Exhibit 20 to the Stein Declaration is

attached hereto.

          15.   A true and correct redacted copy of Exhibit 22 to the Stein Declaration is

attached hereto.

          16.   A true and correct unredacted copy of Exhibit 22 to the Stein Declaration is

attached hereto.

          17.   A true and correct redacted copy of Exhibit 23 to the Stein Declaration is

attached hereto.

          18.   A true and correct unredacted copy of Exhibit 23 to the Stein Declaration is

attached hereto.




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FALCONER DECLARATION ISO ADMINISTRATIVE MOTION TO FILE UNDER SEAL CERTAIN E XHIBITS ISO OPPOSITION
 OF FACEBOOK, GIBSON, DUNN & CRUTCHER LLP, AND ORIN SNYDER TO PLAINTIFFS’ MOTION FOR SANCTIONS
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       19.     A true and correct redacted copy of Exhibit 25 to the Stein Declaration is

attached hereto.

       20.     A true and correct unredacted copy of Exhibit 25 to the Stein Declaration is

attached hereto.

       21.     A true and correct redacted copy of Exhibit 26 to the Stein Declaration is

attached hereto.

       22.     A true and correct unredacted copy of Exhibit 26 to the Stein Declaration is

attached hereto.

       23.     A true and correct redacted copy of Exhibit 29 to the Stein Declaration is

attached hereto.

       24.     A true and correct unredacted copy of Exhibit 29 to the Stein Declaration is

attached hereto.

       25.     A true and correct redacted copy of Exhibit 32 to the Stein Declaration is

attached hereto.

       26.     A true and correct unredacted copy of Exhibit 32 to the Stein Declaration is

attached hereto.

       27.     A true and correct redacted copy of Exhibit 35 to the Stein Declaration is

attached hereto.

       28.     A true and correct unredacted copy of Exhibit 35 to the Stein Declaration is

attached hereto.

       29.     A true and correct redacted copy of Exhibit 36 to the Stein Declaration is

attached hereto.




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       30.     A true and correct unredacted copy of Exhibit 36 to the Stein Declaration is

attached hereto.

       31.     A true and correct redacted copy of Exhibit 38 to the Stein Declaration is

attached hereto.

       32.     A true and correct unredacted copy of Exhibit 38 to the Stein Declaration is

attached hereto.

       33.     A true and correct redacted copy of Exhibit 41 to the Stein Declaration is

attached hereto.

       34.     A true and correct unredacted copy of Exhibit 41 to the Stein Declaration is

attached hereto.

       35.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



Executed on April 11, 2022 in Dallas, Texas.




                                                                  /s/ Russell H. Falconer
                                                                     Russell H. Falconer




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